 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 1 of 12 PageID #: 127




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                 Plaintiff

 v.                                                             Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,                                               Electronically Filed

                                 Defendant.

______________________________________________________________________________

                        MOTION TO DISMISS COUNT 2
______________________________________________________________________________

        The United States Supreme Court has long held that, while broad, prosecutorial discretion

is not unfettered. Wayte v. United States, 470 U.S. 598, 608 (1985). “For an agent of the State

to pursue a course of action whose objective is to penalize a person’s reliance on his protected

statutory or constitutional rights is ‘patently unconstitutional.’” Bragan v. Poindexter, 249 F.3d

476, 481 (6th Cir. 2001) (quoting United States v. Goodwin, 457 U.S. 368, 372 n.4 (1982)); see

also Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978). The government has ignored those

principles here in charging Mr. Conley with interstate transportation of a minor, an offense

which carries a ten-year statutory mandatory minimum and an offense for which he did not face

prior to asserting his statutory and constitutional right to a speedy trial.

        For four years, Mr. Conley previously faced charges for conduct now alleged in the

instant case. The government superseded twice in the previous case, last superseding more than

three years ago. Mr. Conley was on the eve of trial when the previous case was dismissed on

speedy trial grounds. Only after that dismissal did the government add a new charge – a charge

based on information the government has had for at least three years and a charge that carries a
 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 2 of 12 PageID #: 128




much more significant mandatory minimum penalty than any Mr. Conley previously faced.

Consequently, pursuant to Federal Rule of Criminal Procedure 12(b)(3)(A)(iv), Mr. Conley

respectfully moves the Court to dismiss with prejudice Count 2 of the Indictment.

                                BACKGROUND & CHARGES

       In February 2019, a federal grand jury indicted Mr. Conley on ten counts of sending

interstate threatening communications. (Docket Entry #11 in Western District of Kentucky Case

#3:19-CR-19 (hereafter, “Underlying Case”).) In June 2019, the government sought, and

obtained, a superseding indictment, which added charges of kidnapping, bank fraud, and

aggravated identity theft. (Docket Entry #22 in Underlying Case.) The entirety of the charges

contained in these two indictments related to an incident that occurred in January 2019, wherein

Mr. Conley is alleged to have kidnapped a Tennessee woman, attempted to use her debit/credit

card, used her information in an attempt to gain access to her bank account, and sent threatening

text messages to her parents. (See id.)

       In September 2019, the government sought, and obtained, a second superseding

indictment in the Underlying Case. (Docket Entry #45 in Underlying Case.) The second

superseding indictment added one count of interstate transportation for prostitution, in violation

of 18 U.S.C. § 2421(a). (See id.) Though the details underlying this charge are not fully

articulated in the second superseding indictment, Mr. Conley is alleged to have transported, or

attempted to transport, a minor female from Ohio to Kentucky, Tennessee, and elsewhere with

the intent that the minor female engage in prostitution and in sexual activity for which any

person can be charged with a criminal offense. (See id.; see also Docket Entry #111 in

Underlying Case.) Undeniably, the government knew the minor female’s date of birth at the

time the second superseding indictment was obtained. (Exhibit 1, Texas Department of Public



                                                 2
 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 3 of 12 PageID #: 129




Safety Criminal Investigations Division Supplemental Report.) Importantly, transportation for

prostitution, a violation of 18 U.S.C. § 2421(a), carries a potential punishment of no more than

ten years; the statute does not carry a mandatory minimum sentence.

       Litigation in the Underlying Case continued for more than three years. Trial was

ultimately scheduled for February 6, 2023. (Docket Entry #122 in Underlying Case.) On

January 17, 2023, Mr. Conley, then on his fifth attorney, filed a motion to dismiss arguing that

his statutory and constitutional rights to a speedy trial had been violated. (Docket Entry #157 in

Underlying Case.) On February 1, 2023, the Court ordered the Underlying Case dismissed

without prejudice after finding Mr. Conley’s statutory right to a speedy trial had been violated.

(Docket Entry #172 in Underlying Case.)

       In anticipation of the dismissal of the Underlying Case, on January 31, 2023, the

government filed a new criminal complaint charging Mr. Conley with the same kidnapping, bank

fraud, aggravated identity theft, and interstate threatening communications charges asserted in

the Underlying Case. (See R. 1.) On February 7, 2023, the government returned to a federal

grand jury and indicted Mr. Conley on all of the same charges that were contained in the

Underlying Case’s second superseding indictment, but also charging Mr. Conley with

transportation of a minor, in violation of 18 U.S.C. § 2423(a), a charge that was not pursued in

the Underlying Case. (R. 4.) Importantly, this new offense carries a statutory mandatory

minimum sentence of ten years, a mandatory minimum penalty Mr. Conley did not face prior to

asserting his statutory and constitutional right to a speedy trial in the Underlying Case.

       Mr. Conley exercised his statutory and constitutional right in seeking dismissal of the

Underlying Case on speedy trial grounds. In response to Mr. Conley successfully obtaining

dismissal of the Underlying Case, the government re-indicted and included a charge carrying a



                                                  3
 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 4 of 12 PageID #: 130




mandatory minimum sentence Mr. Conley did not face prior to asserting his constitutional and

statutory rights. While the dismissal of the Underlying Case was without prejudice, leaving the

government with the discretion to re-indict Mr. Conley, that discretion is not unfettered, and the

vindictive prosecution exhibited in this case requires dismissal of Count 2, the new transportation

of a minor charge.

                                      LEGAL STANDARDS

          The Sixth Circuit has acknowledged that “due process prohibits an individual from

being punished for exercising a protected statutory or constitutional right.” United States v.

Poole, 407 F.3d 767, 774 (6th Cir. 2005) (citing United States v. Goodwin, 457 U.S. 368, 372

(1982). That said, “the Due Process Clause is not offended by all possibilities of increased

punishment . . . but only by those that pose a realistic likelihood of ‘vindictiveness.’” Id.

(quoting Blackledge v. Perry, 417 U.S. 21, 27 (1974)). “To punish a person because he has done

what the law plainly allows him to do is a due process violation of the most basic sort. . . .”

Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978).

       Prosecutorial vindictiveness can be shown through one of two ways. Bragan v.

Poindexter, 249 F.3d 476, 481 (6th Cir. 2001). “First, a defendant may demonstrate ‘actual

vindictiveness,’ i.e., he may establish through objective evidence that a prosecutor acted in order

to punish the defendant for standing on his legal rights.” Id. (internal citations omitted).

“Second, a defendant may establish that, in the particular factual situation presented, there

existed a ‘realistic likelihood of vindictiveness’ for the prosecutor’s action.” Id. “[A] criminal

prosecution that would not have been initiated but for vindictiveness is constitutionally

prohibited. Id. The ordinary remedy for prosecutorial vindictiveness is dismissal of the

augmented charge. See Blackledge v. Perry, 417 U.S. 21, 24-29 (1974); see also United States



                                                  4
 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 5 of 12 PageID #: 131




v. Andrews, 633 F.2d 449, 455 (6th Cir. 1980). That the Underlying Case was in a pretrial

posture at the time Mr. Conley sought dismissal on speedy trial grounds does not preclude his

claim of prosecutorial vindictiveness. See United States v. LaDeau, 734 F.3d 561, 567 (6th Cir.

2013) (reaffirming that prosecutorial vindictiveness can potentially be found in the pre-trial

addition of charges following pre-trial assertions of protected rights). Here, prosecutorial

vindictiveness can be established through either recognized prong. Consequently, Count 2 must

be dismissed with prejudice.

       A.      Actual Vindictiveness

       Actual vindictiveness, though exceedingly rare, can be established through objective

evidence that a prosecutor acted in order to punish the defendant for standing on his legal rights.

Bragan, 249 F.3d at 481.

       In 2019, the government brought a second superseding indictment in the Underlying Case

charging Mr. Conley with interstate transportation for prostitution, in violation of 18 U.S.C.

§2421(a), alleging that Mr. Conley “knowingly transported, and attempted to transport, a person,

female 1, in interstate commerce with the intent that the individual engage in prostitution and in

sexual activity for which any person can be charged with a criminal offense.” (Docket Entry #45

in Underlying Case, Count 1.) The government knew, prior to seeking the second superseding

indictment in the Underlying Case, that “female 1” was a minor. (See Exh. 1.) Indeed, there is

absolutely no difference in Mr. Conley’s alleged conduct with regard to the interstate

transportation charge in the Underlying Case and the interstate transportation of a minor charge

in this case. Yet, for over three years, the government never sought to amend this charge.

Importantly, a violation of 18 U.S.C. §2421(a) carries a statutory maximum potential penalty of

ten years imprisonment.



                                                 5
 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 6 of 12 PageID #: 132




       On January 17, 2023, after the second superseding indictment had been pending for over

three years and just weeks before the February 2023 trial, Mr. Conley filed a motion to dismiss

the Underlying Case due to violations of his constitutional and statutory rights to a speedy trial.

(Docket Entry #157 in Underlying Case.) On February 1, 2023, just days before trial, the Court

found that Mr. Conley’s statutory right to a speedy trial had been violated and dismissed the

Underlying Case without prejudice. (Docket Entry #172 in Underlying Case.) Within a week,

and less than one month after Mr. Conley stood on his constitutional and statutory rights to a

speedy trial, the government re-indicted Mr. Conley. (R. 4.) In doing so, the government

inappropriately retaliated against Mr. Conley by charging him with the more severe offense of

transportation of a minor (Count 2), in violation of 18 U.S.C. §2423(a), in addition to the original

charge of transportation for prostitution (Count 1), in violation of 18 U.S.C. §2421(a). This new

offense (Count 2) carries a statutory mandatory minimum sentence (ten years imprisonment) that

equals the statutory maximum sentence he previously faced in the Underlying Case for the same

alleged conduct. Moreover, Mr. Conley now faces a potential maximum sentence of life

imprisonment for the conduct allegedly underlying this specific charge, which previously was

capped, by statute, at ten years.

       Objectively, the series of events leading to the government charging Mr. Conley with

interstate transportation of a minor evidences actual vindictiveness in the prosecutorial decision

to pursue that charge. Consequently, the Court should dismiss, with prejudice, Count 2 of the

indictment.

       B.      Presumptive Vindictiveness / Realistic Likelihood of Vindictiveness

       Even if the Court does not find actual vindictiveness in the government’s decision to

charge Mr. Conley with interstate transportation of a minor, the Court should still dismiss Count




                                                 6
 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 7 of 12 PageID #: 133




2 because of the realistic likelihood of vindictiveness underpinning the government’s action to

pursue this charge.

       “If a defendant establishes that ‘(1) the prosecutor has some stake in deterring the

defendant’s exercise of his rights and (2) the prosecutor’s conduct was somehow unreasonable,

then the district court may presume an improper vindictive motive.” LaDeau, 734 F.3d at 566

(quoting Bragan, 249 F.3d at 482). “The government bears the burden of rebutting the

presumption with ‘objective, on-the-record explanations’ such as ‘governmental discovery or

previously unknown evidence’ or ‘previous legal impossibility.’” Id. Each claim of presumptive

vindictiveness will necessarily turn on the facts of the case, which the Court must assess when

determining if the vindictiveness standard has been met. Id.

               1.      The government had a significant stake in deterring Mr. Conley’s exercise
                       of his rights.

       Here, the government had a significant stake in deterring Mr. Conley’s exercise of his

right to seek dismissal of his prior case on speedy trial grounds. The only substantive occurrence

between the second superseding indictment in the Underlying Case and the indictment in this

case is Mr. Conley succeeding in obtaining dismissal of the Underlying Case due to a violation

of his statutory right to a speedy trial. The government cannot argue that discovery of new

evidence prompted the new charge (Count 2 – interstate transportation of a minor) because the

only evidence needed for that charge – in addition to the evidence for the Underlying Case’s

charge of interstate transportation for prostitution – was the alleged victim’s date of birth, which

the government had in its possession. See Exh. 1. Consequently, the government’s view of Mr.

Conley’s case could not have changed due to this information.

       Additionally, the government’s stake in deterring Mr. Conley’s dismissal request resulted

in the government having to return to the grand jury to re-indict Mr. Conley. Mr. Conley’s


                                                 7
    Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 8 of 12 PageID #: 134




Underlying Case was dismissed in its entirety. The government spent resources in preparing a

criminal complaint in preparation of dismissal so that Mr. Conley would not be released from

detention before the government could re-indict. (See R. 1.) Subsequently, the government

returned to the grand jury and re-presented its case in order to obtain a new indictment, which it

obtained. (R. 11.) This imposed upon the government some burden, which is only magnified by

the timing of Mr. Conley’s exertion of a statutory right.

         Courts have previously held that “some repetition of prosecutorial efforts,” such as

seeking re-indictment following dismissal on speedy trial grounds, does not create a “sufficient

burden to trigger a realistic likelihood of vindictiveness in the pretrial context.” United States v.

Moon, 513 F.3d 527, 535-36 (6th Cir. 2008) (citing United States v. Ewing, No. 94-3010, 1994

WL 577055, 38 F.3d 1217 (Table) (6th Cir. 1994)1). In Moon, the defendant sought dismissal of

the indictment early in the litigation due to lack of an interstate nexus. Moon, 513 F.3d at 533.

The government returned to the grand jury, albeit twice, in order to fix the indictment on the

original charge and ultimately charge an additional offense no more serious that the initial

charged offense. Id. In Ewing, the trial court dismissed the case because the government did not

obtain an indictment within 30 days of the defendant’s arrest. Ewing, 1994 WL 577055, at *1.

The defendant was arrested, and detained solely on federal charges, on November 13, 1992; the

government obtained an indictment on December 17, 1992; and the defendant filed his motion to

dismiss on December 31, 1992. Id. Thus, in both Moon and Ewing, the government’s only

repetition of efforts was to return to the grand jury within a short time of having already obtained

the initial indictments.




1
  Ewing is being attached as Exhibit 2 because of its unpublished classification. Mr. Conley does not rely on Ewing
for any precedential value, but cites to Ewing only to distinguish its facts from the facts of the case at bar.


                                                         8
 Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 9 of 12 PageID #: 135




        Conversely, in Mr. Conley’s case, the dismissal on speedy trial grounds came on the eve

of trial after four years of litigation. Unlike in Moon and Ewing, Mr. Conley’s motion to dismiss

came after years of litigating the Underlying Case. Mr. Conley’s second superseding indictment

came on September 18, 2019. (Docket Entry #45 in Underlying Case.) Trial was ultimately

scheduled for February 6, 2023. (Docket Entry #122 in Underlying Case.) On January 17, 2023,

Mr. Conley filed his motion to dismiss. (Docket Entry #157.) On February 1, 2023, just five

calendar days before trial, the Court dismissed the Underlying Case. (Docket Entry #172 in

Underlying Case.) The case had previously been declared complex (Docket Entry #52 in

Underlying Case), the final pretrial conference had already taken place (Docket Entry #160), and

both parties were in the depths of trial preparation when Mr. Conley filed his motion to dismiss.

        Additionally, the nature of the charges, the number of witness, including several out-of-

state witness, and the amount and volume of discovery in this case (see, e.g., Docket Entry #113

in Underlying Case) indicates that the trial in this matter would likely continue for more than a

week. Thus, unlike in Moon and Ewing, the government was significantly burdened when Mr.

Conley exercised his statutory right to seek dismissal on speedy trial grounds. Not only did the

government have to repeat going back to the grand jury, but the government, in the midst of trial

prep, had to make contact with its numerous witnesses to cancel their arrangements for trial on

the eve of trial, and, again in the future, will incur the burden of trial prep in this serious case.

The Court is well aware of the efforts that are involved with preparing for trial, and undoubtedly

having to repeat those efforts in the future will be a significant time, cost, and resource burden on

the government, a burden it has already incurred once. These additional repetitive burdens were

not at play in Moon and Ewing. Consequently, here, the government had a significant stake in




                                                   9
Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 10 of 12 PageID #: 136




deterring Mr. Conley, and other defendants similarly situated, in standing on their constitutional

and statutory rights at such a late stage of litigation.

                2.      The government’s conduct in charging an additional offense with severely
                        increased penalties was unreasonable.

        Upon dismissal of the Underlying Case, the government was well within its right to re-

indict Mr. Conley. However, that right is not unfettered. The government could have re-indicted

Mr. Conley on the same charges that were included in the second superseding indictment that

had been pending for more than three years, but it choose to also seek a new charge that carries

more significant penalties. Above, Mr. Conley has already set forth the factual series of events

that transpired before the government obtained the indictment in this case, and incorporates that

recitation of events in this section of the memorandum.

        The government had all of the information it needed to charge interstate transportation of

a minor years before seeking the current indictment. (See Exh. 1.) The government had the

minor’s date of birth at the time it obtained the second superseding indictment. (Id.) The parties

continued to litigate the Underlying Case, up to the point of trial, without the government ever

indicating that it would seek additional charges. Had the government indicated to Mr. Conley

that it would seek additional, more severe charges if Mr. Conley did not plea, Mr. Conley would

have been free to accept or reject that offer. See Bordenkircher, 434 U.S. at 363-65. However,

that was not the case here. Legal impossibility did not prevent the government from seeking the

more severe charge as the government was always free to supersede the indictment in the

Underlying Case in order to add the more severe charge; it chose not to.

        Only upon Mr. Conley’s assertion of his right to a speedy trial, during the rigors of trial

preparation and on the eve of trial, did the government decide to seek a more severe charge and

subject Mr. Conley to significantly greater penalty to which he was not previously subjected.


                                                   10
Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 11 of 12 PageID #: 137




Such conduct is unreasonable. Such conduct also has created a realistic likelihood that

vindictiveness played a role in the government’s decision to charge Mr. Conley with interstate

transportation of a minor, an offense that carries a statutory mandatory minimum penalty of ten

years and a potential maximum penalty of life, neither of which Mr. Conley faced with regard to

the alleged conduct for this specific offense in the Underlying Case.

               3.      The government cannot present objective, on-the-record explanations to
                       justify its conduct.

       Neither legal impossibility nor the discovery of new evidence led to the government

charging Mr. Conley with the new interstate transportation of a minor charge (Count 2). The

government could have charged Mr. Conley with this offense at any point in the four years that

the Underlying Case was pending. Any attempt to justify its conduct should be met with

scrutiny, especially considering that the same individual prosecutor, who endured the previous

four years of litigating the Underlying Case, is the same prosecutor who made the charging

decision in the instant matter. See Thigpen v. Roberts, 468 U.S. 27, 31 (1984); see also Bragan,

249 F.3d at 482 (recognizing that an argument could be made that presumptive vindictiveness

does not arise where separate prosecutors are involved). Put another way, the government

cannot objectively rebut the presumption that a realistic likelihood of vindictiveness affected its

decision to charge Mr. Conley with interstate transportation of a minor given the timing and

severity of the additional charge.

                                         CONCLUSION

       The arguments set forth above support an objective finding that the government acted

with actual vindictiveness when it charged Mr. Conley with the more severe offense of interstate

transportation of a minor (Count 2) after Mr. Conley succeeded in asserting his statutory right to

a speedy trial in the Underlying Case. Even if the Court does not find actual vindictiveness, the


                                                 11
Case 3:23-cr-00014-DJH Document 19 Filed 03/13/23 Page 12 of 12 PageID #: 138




factual series of events evidence a realistic likelihood that vindictiveness played a role in the

government charging Mr. Conley with the interstate transportation of a minor offense at issue in

this Motion. Either way, the Court should dismiss with prejudice Count 2 – Interstate

Transportation of a Minor.



                                                       Respectfully submitted,




                                                       /s/ Ashley W Ward for Joshua F. Barnette
                                                       Joshua F. Barnette
                                                       STITES & HARBISON PLLC
                                                       400 West Main Street, Suite 1800
                                                       Louisville, KY 40202
                                                       859.226.2318
                                                       jbarnette@stites.com
                                                       Counsel for Bryan Douglas Conley
                                                       (Attorney Ashley Ward is filing this motion
                                                       for Attorney Joshua Barnette for this filing
                                                       and this case only.)



                                 CERTIFICATE OF SERVICE

        I hereby certify that on 13th day of March, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to
all counsel of record.



                                                       /s/ Joshua F. Barnette
                                                       Joshua F. Barnette




                                                 12
